     Case: 1:17-cv-01171 Document #: 41 Filed: 09/11/18 Page 1 of 1 PageID #:223

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Flava Works, Inc
                                      Plaintiff,
v.                                                    Case No.: 1:17−cv−01171
                                                      Honorable Robert W. Gettleman
Marques Rondale Gunter, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 11, 2018:


       MINUTE entry before the Honorable Robert W. Gettleman: Status hearing set for
9/12/2018 is stricken and reset to 10/25/2018 at 9:00 a.m. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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